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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


    ELEANOR and ROCCO CIOFOLETTI
    and LARRY STOSPAL, on behalf of
    themselves and all others similarly              Case No.: 0-18-cv-03025-JNE-ECW
    situated,

                         Plaintiffs,                 STIPULATION FOR STAY OF
                                                     THE ENTIRE CASE EXCEPT AS
    -vs-                                             TO CERTAIN DEPOSITIONS

    SECURIAN FINANCIAL GROUP, INC.,
    MINNESOTA LIFE INSURANCE
    COMPANY, SHURWEST, LLC,
    SECURIAN LIFE INSURANCE
    COMPANY and MINNESOTA
    MUTUAL COMPANIES, INC.,

                         Defendants.

        WHEREAS, on September 7, 2021, Defendants Securian Financial Group, Inc.,

Minnesota Life Insurance Company, Securian Life Insurance Company and Minnesota

Mutual Companies, Inc. (together, “Securian”) filed a motion to stay this case due to a

bankruptcy proceeding commenced by defendant Shurwest, LLC in the District of

Arizona [Dkt. 266];

        WHEREAS, on September 10, 2021, Plaintiffs filed a motion to compel

depositions previously ordered by this Court;

        WHEREAS, Securian and Plaintiffs have met and conferred and have stipulated

to a stay of this case except that the following depositions shall be taken by October 1,

2021:
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             Mike Clements on or before October 1, 2021
             Edie Jarvis on September 23, 2021 or before October 1, 2021
             Ruth Hallock before October 1, 2021
             John Helberg before October 1, 2021
             Securian and Plaintiffs will work to have third-party Louis Slagle’s
              deposition completed before October 1, 2021.

       NOW, THEREFORE, Securian and Plaintiffs respectfully request the Court

grant the stipulation and order that the case is stayed, pending further guidance and/or

rulings from the bankruptcy court in Arizona, except as to the foregoing depositions.

       Respectfully submitted,

 Date: September 14, 2021           By: s/ Kathy J. Huang
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Date: September 14, 2021         By: s/ Amanda M. Williams
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Attestation: I, Kathy J. Huang, hereby attest that I have received the consent of
Amanda M. Williams to file this document and that she concurs with this
document’s contents.




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